                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                  DOCKET NO. 3:03CR70-12-MU
                                    )
            v.                      )
                                    )                  ORDER TO DESTROY OR
                                    )                  DISPOSE OF EVIDENCE
OMAR ALEXANDRO HERNANDEZ            )
____________________________________)


       THIS MATTER is before the Court upon Motion of the United States for destruction or

disposal of evidence.

       It appears to the Court that this case is closed and that all avenues of appellate review

have been exhausted or eliminated by the passage of time. It further appears to the Court that the

Charlotte-Mecklenburg Police Department is in possession of weapons and other similar devices,

which were seized at the time of defendants' arrest.

       For good cause shown, IT IS, THEREFORE, ORDERED that the Motion of the United

States be, and hereby is GRANTED.

       IT IS FURTHER ORDERED that the firearms and similar devises described as

               One      Ruger, Model P89, serial number 31057742

               One      Magazine

               Ten      Bullets

be destroyed or disposed of in accordance with the usual procedures of the Charlotte-

Mecklenburg Police Department.




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       The Clerk is directed to certify copies of this Order to the Charlotte-Mecklenburg Police

Department, defense counsel Gary Murphy, Esq., and the United States Attorney.



                                                Signed: February 13, 2006




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